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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                       CASE NO . 1l-6l455-CIV -ZLOCH


 SECURITIES AND
 EXCHANGE COMM ISSION ,                      CON SENT FINAL JUDGMENT

             Plaintiff,
 VS .


 DOUGLAS NEWTON and
 REAL AMERICAN BRANDS , INC .
 n/k/a REAL AMERICAN CAPITAL CORP.,
             Defendant,
                                     /
        THIS MATTER is befgre the Court upon the Plaintiff's Notice Of
 Filing Consent Of Defendant Douglas Newton And Request For Entry Of

 Judgment Of Permanent Injunction And Other Relief (DE 64), which
 this Court construes as a Motion For Entry Of Consent Final

 Judgment . The Court has carefully reviewed said Mo tion , the entire

 court file and is otherwise fully advised in the premises .

        The Court notes that Defendant, Douglas Newton , consents to

 the entry of the final judgment against him sought herein. See DE
 64-1.

        Accordingly , after due consideration , it is

        ORDERED AHn ADJUDGED as follows :

           The Court has jurisdiction over the Parties hereto and the
 subject matter herein;
        2 . Plaintiff's Notice Of Filing Consent Of Defendant Douglas

 Newton And Request For Entry Of Judgment Of Permanent Injunction
 And Other Relief (DE 64), which this Court construes as a Motion
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 For Entr# Of Consent Final Judgment, be and the same is hereby
 spaumso ;
       3 . Pursuant to Federal Rule of Civil Procedure 58 , Final

 Judgment be and the same is hereby ENTERED in favor of Plaintiff,
 the Securities and Exchange Commission , and against Defendant ,

 Douglas Newton ;

       4. The Judgment Of Permanent Injunction And Other Relief As To
 Defendant Douglas Newton (DE 64-1) be and the same is hereby
 approved , adopted , and ratified ;

       5. The Court shall retain jurisdiction solely for the purposes
 of entertaining a Motion For Attorney 's Fees that comports with the

 dictates of Local Rule         7 .3 ; entertaining    Plaintiff's Motion

 regarding assessment of disgorgement, prejudgment interest thereon,
 and civil penalties; and enforcing the terms of this Judgment ; and

          To the ex tent not otherwise disposed of herein , all pending

 motions are hereby DENIED as moot .

       DONE ANn ORDERED in Chambers at Fort Lauderdale , Broward

 çounty, Florida, this
                              /+
                               - day
                                -
                                         of November, 2012.


                                                        #

                                    WILLIAM J . ZLUCH
                                    United States District Judge


 Copies furnished :

 A ll Counsel of Record

 Douglas Newton, PRO :1
 37 Lafayette Drive
 Rancho Mirage, CA 92270
